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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA                       )
                                               )
      v.                                       )           No. 1:17-CR-10329-DLC
                                               )
JAMIE MELO                                     )


                             AFFIDAVIT OF JAMIE MELO

   JAMIE MELO, being duly sworn, deposes and says the following is true and correct

to the best of his knowledge and belief:

       (1)   I am over the age of 18;

       (2)   I am the Defendant in the above captioned criminal action;

       (3)   I base this affidavit upon personal knowledge unless otherwise indicated;

       (4)   On August 30, 2017, prior to 8:30 a.m., multiple agents arrived at my home
             in North Dartmouth, Massachusetts;

       (5)   I live in the North Dartmouth home with my wife but she was not present
             when the agents arrived;

       (6)   The agents asked to speak with me and I agreed and let them into my home;

       (7)   Before commencing an interrogation, the agents had me secure my dog in a
             separate room and they accompanied me while I secured my firearm in a
             safe;

       (8)   I work for the Bristol House of Corrections as a Captain and I served as
             Sherriff Thomas Hodgson’s driver at the time the agents came to my home;

       (9)   The agents conducted the interview at my dining room table;

       (10) Prior to starting the interview, I asked them if I could contact my attorney
            John E. Zajac of Taunton;

       (11) Although the agents initially expressed reluctance to involve my attorney,
            they eventually acquiesced and let me call him;
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         (12) Attorney Zajac indicated he could not participate in person and he could not
              participate by telephone until approximately 9:30 a.m. due to his
              responsibilities in court;

         (13) The agents allowed Attorney Zajac to participate by telephone and they did
              not question me until he could participate in the call;

         (14) The agents did ask me if I would allow them to search my computer and
              cell phone and I agreed to consent to their search;

         (15) After I agreed to the search, many agents entered my home;

         (16) I remain seated at my dining room table with two agents while many other
              agents searched my home;

         (17) The agents – including the two agents who questioned me in the dining
              room – carried firearms but they did not remove the firearms from their
              holsters;

         (18) Although I initially obtained water and coffee for the agents prior to the
              start of the interview, they did not allow me to leave the dining room table
              once I sat down shortly after 8:30 a.m.;

         (19) The interview commenced shortly after 9:30 a.m. when my attorney joined
              us on the phone;

         (20) At no point did the agents ever read me my Miranda1 rights;

         (21) My attorney asked the agents if I was a target of their investigation and they
              replied that I was and, at that point, I knew I was a target of their
              investigation;

         (22) The agents questioned me from approximately 9:30 a.m. to approximately
              12:30 p.m.;

         (23) I remained seated at the dining room table from approximately 8:30 a.m. to
              approximately 12:30 p.m.;

         (24) My attorney needed to take multiple breaks during the course of the
              questioning to attend to his case or cases in court and the agents did not
              question me without my attorney on the phone but they would not let me
              leave the dining room table;

         (25) When I asked for a glass of water, the agents got it for me;




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    Miranda v. Arizona, 384 U.S. 436 (1966).
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       (26) When I asked to take my medication, the agents retrieved it for me and they
            would not let me leave the dining room table;

       (27) When I needed to go to the bathroom, the agents escorted me, waited
            outside the bathroom and then escorted me back to the dining room table;

       (28) Other than the one trip to the bathroom, I never left the dining room table
            for approximately four hours;

       (29) After the conclusion of the interview, the agents arrested me and finally
            read me my Miranda warnings; and,

       (30) For the duration of the interview, I did not feel free to leave and, in fact, I
            do not believe I could leave my dining room table voluntarily from the
            moment I sat down until the time they arrested me at the conclusion of the
            interview.

SIGNED THIS DAY UNDER THE PAINS AND PENALTIES OF PERJURY

Dated: March 26, 2018

                                             Respectfully submitted,
                                             JAMIE MELO

                                             /s/ Jamie Melo
                                             Jamie Melo




                            CERTIFICATE OF SERVICE

        I hereby certify that on March 26, 2018, I served a true and correct copy of the
within affidavit upon Assistant United States Attorney Neil Gallagher and upon all other
registered users via ECF.

                                             /s/ Gary G. Pelletier




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